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                                     UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                           ORLANDO DIVISION

MARAJ KIDWAI,

                 Plaintiff,
v.                                                                     Case No. 6:12-cv-1061-Orl-37GJK

ST. MATTHEW’S UNIVERSITY SCHOOL
OF MEDICINE,

                 Defendant.


                                     RELATED CASE ORDER AND
                                        TRACK TWO NOTICE

          No later than fourteen (14) days from the date of this Notice, counsel and any pro se party
shall comply with Local Rule 1.04(d) and shall file and serve a certification as to whether the instant
action should be designated as a similar or successive case pursuant to Local Rule 1.04(a)(b). The
parties shall utilize the attached form Notice of Pendency of Other Actions.
          Additionally, in accordance with Local Rule 3.05, this action is designated as a TRACK
TWO CASE. The Court's goal is to try most Track Two cases within 12-18 months of filing. The
filing party (that is, the party that instituted suit in this Court) is responsible for serving a
copy of this Notice and its attachments upon all other parties. Pursuant to Local Rule 3.05,
the parties shall conduct a case management conference no later than 60 days after service or
appearance of any defendant. The Case Management Report must be filed within 14 days of
the case management conference. In preparing their Report, the parties shall consult the Federal
Rules of Civil Procedure and the Local Rules (available from the Clerk or at
www.flmd.uscourts.gov). Counsel for all parties share the obligation to timely comply with the
requirements of Local Rule 3.05 and are reminded that they must do so despite the pendency of
any undecided motions.
          The parties are advised that utilization of the attached Case Management Report form
is mandatory.

Date: July 19, 2012                                                    SHERYL L. LOESCH, CLERK

                                                                       By:   /s/ Virginia Flick
                                                                             Deputy Clerk
Copies:          Counsel of Record
                 Pro Se Parties
Attachments:     Notice of Pendency of Other Actions
                 Case Management Report form
                 AO 85 Consent to Magistrate Judge Jurisdiction form


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